
CARR, J.,
delivered the opinion. It has been settled, by the case of Bowyer v. Creigh, 3 Rand. 25, and many other cases, that *436where a party has a complete remedy at law, he shall not be entertained in equity. Here, if Crews had any title to the crops raised on the land during- the year 1822, it was a legal title, the legal estate being in him after forfeiture of the mortgage. So if the deed executed by Long to Wright for Echols, was operative at all, it conveyed the legal title of the tobacco to Wright, the.trustee, and he might have sued at law. Whoever had the legal title might have sued the officer in trespass or trover, and had no need to come into equity. Nor is this a case of that complexion which equity will look upon with favour.
Decree affirmed.
